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                           UNITED STATES BANKRUPTCY COURT
                                  Middle District of Florida
                                     Orlando Division

IN RE:                                                     Case No:         6:16-bk-07642-KSJ

 Jose Luis Rosa

                                                           Chapter 13
                                         Debtor


         Motion to Dismiss for Failure to Maintain Timely Plan Payments
                                          Total Due $2,938.00

                      Notice of Opportunity to Object and Request for Hearing

     Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper without
further notice or hearing unless a party in interest files a response within twenty-one (21) days from the
date set forth on the attached proof of service, plus an additional three days for service if any party
was served by U.S. Mail.

     If you object to the relief requested in this paper, you must file a response with the Clerk of the
Court, United States Bankruptcy Court, George C. Young Courthouse, 400 W. Washington St., Suite
5100, Orlando, Florida 32801 and serve a copy on the Chapter 13 Trustee, Laurie K Weatherford,
PO Box 3450, Winter Park, FL 32790-3450 and any other appropriate persons within the time
allowed. If you file and serve a response within the time permitted, the Court will either schedule and
notify you of a hearing, or consider the response and grant or deny the relief requested without a
hearing.

    If you do not file a response within the time permitted, the Court will consider that you do not
oppose the relief requested in the paper, will proceed to consider the paper without further notice or
hearing, and may grant the relief requested.




COMES NOW Laurie K. Weatherford, Chapter 13 Standing Bankruptcy Trustee for the Middle
District of Florida, Orlando Division, and shows:
     1. The Debtor filed this Chapter 13 case on 11/22/2016.
     2. Pursuant to 11 USC 1322 (a)(1) the Debtor was to file a plan which among other things
         provides for the submission of all or such portion of future earnings or other income of the
         Debtor to the supervision and control of the Trustee as is necessary for the execution of the
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       plan.
    3. The Debtor has failed to submit the supervision and control of the Trustee funds necessary
       for a plan to be successful in this case.
    4. That review of the Debtor Report of Receipts and of the Debtor individual payments for this
       case reflects the Debtor is delinquent in payments under the Chapter 13 Plan in the amount of
       $1,913.00 through June 11, 2018 and will be delinquent an additional payment of $1,025.00
       which will come due on June 22, 2018 for a delinquency in the sum of $2,938.00 . Said total
       sum includes the next plan payment due under the Chapter 13 Plan which will become due
       and payable within the time frame allowed by the court for the Debtor to become current in
       the plan payments. A copy of the Plan Payment Schedule and Trustee’s Report of Receipts is
       attached hereto as Exhibit “A”


       WHEREFORE, the Trustee moves this honorable court for an order dismissing this case
   unless the Debtor pays the entire arrearage as listed above the Chapter 13 Trustee on or before
   July 02, 2018 by mailing said sum to the payment address at Post Office Box 1103, Memphis,
   TN 38101-1103, and granting such relief as the court may deem appropriate.




                                        Certificate of Service

      I HEREBY CERTIFY, that a true and correct copy of the foregoing Motion to Dismiss for
Failure to Maintain Timely Plan Payments has been furnished by the United States mail or by
electronic transmission to the parties listed below on the 11th day of June, 2018.
Debtor - Jose Luis Rosa, 2545 Oak Hollow Drive, Kissimmee, FL 34744
Attorney - Erin E Tudhope, Tudhope Law, 1681 Maitland Ave, Maitland, FL 32751



                                                    BY: /S/ LAURIE K. WEATHERFORD
                                                    Chapter 13 Trustee
                                                    Stuart Ferderer
                                                    FL Bar No. 0746967
                                                    Ana DeVilliers
                                                    FL Bar No. 0123201
                                                    Attorney for Trustee
                                                    PO Box 3450
                                                    Winter Park, FL 32790
                                                    Telephone: 407-648-8841
                                                    Facsimile: 407-648-2665
                                                    E-mail: info@c13orl.com
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                                Exhibit "A"
                             Plan Payment Schedule

Period   Date (Month/Year)   Payment Due      Payment Received      Amount Due
   1              12/2016      $1,700.00               $0.00         $1,700.00
   2              01/2017      $1,700.00           $1,700.00         $1,700.00
   3              02/2017      $1,700.00               $0.00         $3,400.00
   4              03/2017      $1,700.00               $0.00         $5,100.00
   5              04/2017      $1,700.00           $5,100.00         $1,700.00
   6              05/2017      $1,700.00           $1,700.00         $1,700.00
   7              06/2017      $1,025.00           $1,700.00         $1,025.00
   8              07/2017      $1,025.00               $0.00         $2,050.00
   9              08/2017      $1,025.00               $0.00         $3,075.00
  10              09/2017      $1,025.00               $0.00         $4,100.00
  11              10/2017      $1,025.00           $4,100.00         $1,025.00
  12              11/2017      $1,025.00           $2,050.00             $0.00
  13              12/2017      $1,025.00               $0.00         $1,025.00
  14              01/2018      $1,025.00           $1,025.00         $1,025.00
  15              02/2018      $1,025.00           $1,025.00         $1,025.00
  16              03/2018      $1,025.00               $0.00         $2,050.00
  17              04/2018      $1,025.00           $1,025.00         $2,050.00
  18              05/2018      $1,025.00           $1,162.00         $1,913.00
  19              06/2018      $1,025.00               $0.00         $2,938.00



                               Report of Receipts

 Receipt Date    Source        Amount Receipt Date      Source          Amount
 01/19/2017          -       $1,700.00
 04/19/2017          -       $5,100.00
 05/17/2017          -       $1,700.00
 06/22/2017          -       $1,700.00
 10/16/2017                  $4,100.00
 11/28/2017                  $2,050.00
 01/08/2018                  $1,025.00
 02/02/2018                  $1,025.00
 04/03/2018                  $1,025.00
 05/02/2018   6766            $137.00
 05/14/2018                  $1,025.00
